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LINITED STATES DISTRICT COUR]
SOUTHERN DISTRICT OF NEW YORK

                                                               X
GIL V. PEREZ,

                                                    Plaintiff,     NOTICE OF REMOVAL

                           -against-
                                                                   Case   No. 16 Civ.
THE CITY OF NEW YORK and THE
DEPARTMENT OF CITYWIDE
ADMINISTRATIVE SERVICES,
                                                  Defendants
                                                               X

TO      THE UNITED STATES DISTRICT COURT,
        SOUTHERN DISTRICT OF NBW YORK

        Defendants The City       of New York and the Department of Citywide            Administrative

Services ("defendants"), by Zachary W. Carter, Corporation Counsel of the City of New York,

hereby f,rle this Notice of Removal for the removal of this case from the Supreme Court of the

State of New York, New York County, to the United States District Court for the Southern

District of New York, pursuant to 28 U.S.C. S$ 1441 and 1443. In support thereof, defendants

respectfully states as follows:

                1.     On August 25,2016, an action was commenced in the Supreme Court of

the State of New York, County of New York, under Index No. 65448 2/2016, naming the above

captioned defendants as parties in this action.

               2.      Defendants were served with the Summons and Complaint in the above-

entitled action on August 25,2016. A copy of the Summons and Compliant is annexed hereto            as


Exhibit "A."
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                3.      The above-captioned action is a civil action of which the District Court

has original jurisdiction pursuant to 28 U.S.C. $ 1331 (Federal Question), in that     it alleges claims

which arise under the Constitution and laws of the United States.

                4.      Specifically, the Complaint alleges inter alia, that defendants violated

plaintiffls federal civil rights under The Americans with Disabilities Act of 1990, 42 U.S.C.          $


12101, et seq. See Ex.   "4" Tf l,   58-60

                5.      This action is therefore removable to the District Court without regard to

the citizenship or residence of the parties, pursuant to 28 U.S.C. $$ 1441 and 1443.

                6.      This Notice of Removal is timely because         it is being filed within thirty
days (30) days of receipt of the initial pleading placing defendants on notice of the plaintiff        s


federal claims. See 28 U.S.C. $ 1446(b).

                7.      Defendants are unaware           of any previous   application   for the relief
requested herein.

                8.      Defendants       will promptly   serve a copy   of this Notice of Removal on

counsel for plaintiff, and   will file   a copy of this Notice of Removal with the Clerk of the state

court in which the action has been pending, pursuant to 28 U.S.C. $1446(d).

                9.     Defendants reserve all claims and defenses, including, without limitation,

those set forth in Fed. R. Civ. P. l2(b).

               \ryHBREFORB, defendants respectfully requests that the above-captioned action

be removed from the Supreme Court of the State of New York, County of New York, to the

United States District Court for the Southern District of New York.

Dated          New York, New York
               September     9,2016




                                                     2
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                                 ZACHARY W. CARTER
                                 Corporation Counsel of the
                                 City of New York
                                 Attomey for Defendants
                                 100 Church Street, Room 2-138
                                 New York, New York 10007
                                 Tel: (212) 356-2451



                                 By:
                                       H       Martone
                                       Assistant Corporation Counsel
TO   Paul C. Cavaliere, Esq.
     325 Broadway, Suite 302
     New York, New York 10007
     (212) 2r9-3ssr
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                                CERTIFICATE OF SERVICE


               I, Heather Martone, declare under penalty of perjury that I have served a copy of

the attached Notice of Removal on the party listed below by first class mail.

                              Paul C. Cavaliere, Esq.
                              325 Broadway, Suite 302
                              New York, New York 10007
                              (212) 219-3sst



Dated:         New York, New York
               September   9,2016


                                                     Heather Martone
                                                     Assistant Corporation Counsel
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           Case No. 16 Civ

           UNITED STATES DISTRICT COURT
           SOUTHERN DISTRICT OF NEW YORK

           GIL V. PEREZ,
                                                        Plaintiff,
                                 -against-

           THE CITY OF NEW YORK and THE
           DEPARTMENT OF CITYWIDE
           ADMINISTRATIVE SERVICES,
                                                    Defendants.

                          NOTICE OF REMOVAL

                       ZACHARY \ry. CARTER
              Corporation Counsel of the City of New York
                        Attomey for Defendants
                    100 Church Street, Room 2-138
                     New York, New York 10007

                      Of Counsel: Heather Martone
                      Tel: (212) 356-2457
                      Matter No. 2016-033624
           Due and timely service is hereby admitted.

           New York, N.Y.                                  )   20

                                                        ...... Esq

           Attorney for
